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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION

In re:                                                                  Case No: 17-02469-3G7

NATASHIA T. SWINDLER
                                      Debtor(s)./

                                 PROOF OF SERVICE OF
                       ORDER ALLOWING ADMINISTRATIVE EXPENSES

         The Trustee, Gordon P. Jones, hereby certifies that the Order Allowing Administrative Expenses
entered on October 26, 2017 (docket #29) was furnished via U.S. Mail, postage prepaid, on October 30,
2017 or by electronic transmission by the Bankruptcy Noticing Center, to the following:




                                                          /s/ Gordon P. Jones
                                                        Gordon P. Jones
                                                        Florida Bar No.: 829439
                                                        Post Office Box 600459
                                                        Jacksonville, FL 32260-0459
                                                        (904) 262-7373
                                                        Trustee
